                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

   In re:

   Moose M. Scheib,                               Case No. 21-42581
                                                  Chapter 7
                                                  Honorable Mark A. Randon
         Debtor.
   ________________________________/

    ORDER AUTHORIZING TRUSTEE TO EMPLOY RE/MAX FIRST
             TO MARKET AND SELL REAL ESTATE

      THIS MATTER having come before the Court upon the Trustee’s

Application to Employ Real Estate Agent and Broker, the Court having read same

and being otherwise fully advised in the premises;

      IT IS HEREBY ORDERED that the Trustee, on behalf of the bankruptcy

estate, be and hereby is authorized to employ RE/MAX First (“RE/MAX”) as real

estate sales broker and one of its real estate agents, Edward Harris (“Agent”), to

investigate the value of and, if advisable, market and sell the real property located at

15 Bradford Court, Unit 27, Dearborn, MI 48216 (the “Property”). Combined

compensation for RE/MAX and Agent shall be 6% of the gross proceeds from any

sale of the Property. RE/MAX and Agent will not be required to submit hourly time

records in order to receive compensation.

      IT IS FURTHER ORDERED that, upon application to and approval by the

Court, Agent may be paid a reasonable fee not to exceed $250 for his valuation and




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consulting services in lieu of a commission if the Property is not sold due to a

settlement regarding the Property that does not result in its sale.

      IT IS FURTHER ORDERED that all fees and expenses sought by RE/MAX

and Agent are subject to Court approval.


Signed on June 25, 2021




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